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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA : Hon. Rukhsanah L. Singh
V. : No, 2023-MJ-14017 (RLS)
SPENCER CAUDLE CRIMINAL COMPLAINT

I, Brian Teague, being duly sworn, state that the following is true and
correct to the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that Iam a Special Agent with the Department of
Homeland Security, Homeland Security Investigations, and that this Complaint
is based on the following facts:

SEE ATTACHMENT B

continued on the attached pages and made a part hereof.

s/ Brian Teaque

Brian Teague

Special Agent

Department of Homeland Security
Homeland Security Investigations

Attested to me by telephone, pursuant to FRCP 4.1(b}(2)(A),

 

 

 

 

June 26, 2023 at District of New Jersey

Date

Honorable Rukhsanah L. Singh 2 Ql
United States Magistrate Judge Is: a
Name & Title of Judicial Officer Signature of Julltyial Officer

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ATTACHMENT A

COUNT ONE
{(Persuade, Induce, Entice, or Coerce a Minor into Sexual Activity)

On or about May 27, 2023, in the District of New Jersey, and elsewhere,
the defendant,

SPENCER W. CAUDLE,

did knowingly, by means of a facility of interstate commerce, persuade, induce,
entice, or coerce an individual who had not attained the age of eighteen years,
to engage in sexual activity for which a person can be charged with a criminal
offense.

In violation of Title 18, United States Code, Section 2422(b).

COUNT TWO
(Travel with the Intent to Engage in Illicit Sexual Conduct with a Minor)

On or about May 26, May 27, and June 16, 2023, in the District of New
Jersey, and elsewhere, the defendant,

SPENCER W. CAUDLE,

did knowingly travel in interstate commerce from Louisiana to New Jersey, for
the purpose of engaging in illicit sexual conduct, as defined in Title 18, United
States Code, Section 2423(, with another person, that is a sexual act, as

defined in Title 18, United States Code, Section 2246, with a person under the

age of eighteen years.
In violation of Title 18, United States Code, Section 2423(b).

COUNT THREE
(Possession of Child Pornography)

On or about June 16, 2023, in the District of New Jersey, and elsewhere,
the defendant,

SPENCER W. CAUDLE,

did knowingly possess, and knowingly access with intent to view, a book,
magazine, periodical, film, videotape, computer disk, and any other material
that contained an image of child pornography, as defined in Title 18, United
States Code, Section 2256(8), that had been mailed, and shipped and
transported using any means and facility of interstate and foreign commerce

 
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and in and affecting interstate and foreign commerce by any means, including
by computer, and which were produced using materials that were mailed,
shipped, and transported in and affecting interstate and foreign commerce, by
any means, including by computer,

In violation of Title 18, United States Code, Section 2252A(a}(5)(B) and
Section 2.

 
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ATTACHMENT B

I, Brian Teague, am a Special Agent with the United States Department
of Homeland Security, Homeland Security Investigations (“HSI”). J have
participated in this investigation, discussed this matter with other law
enforcement officers, and have reviewed documents and other materials,
Accordingly, I have personal knowledge of the facts set forth below. Because
this criminal complaint is being submitted only for the limited purpose of
establishing probable cause, I have not included each and every fact known to
me concerning this investigation. Rather, I have set forth only the facts that I
believe are necessary to establish probable cause. Unless specifically
indicated, all conversations and statements described in this complaint are
related in sum and substance and in part, and all dates and figures are
approximate.

1, At all times relevant to this Complaint, defendant SPENCER W.
CAUDLE (*“CAUDLE”’) was a resident of Louisiana.

2. Beginning in or around April 2023, CAUDLE, a 34-year-old male,
and “CW,” a 14-year-old female, began interacting on social media application
Whisper,

3. After approximately one week of CAUDLE and CW communicating
via Whisper, CAUDLE requested that they continue their communications via
social media application Snapchat, to which CW agreed.

4, The conversations via online social media between CAUDLE and
CW eventually became sexual in nature.

5. CW informed CAUDLE that she was 14 years old, to which
CAUDLE responded that their interactions were risky, but continued
communicating with CW in a sexual manner. Despite CW making her minor
status clear to CAUDLE throughout their conversations, CAUDLE continued to
discuss his desire to have sexual intercourse with her.

6. On May 21, 2023, for example, CAUDLE described in detail his
intent to have sexual intercourse with CW through Snapchat messages.

7. CAUDLE even informed CW that he wanted to meet CW in-person
to have sexual intercourse but expressed being nervous about being on the
show “To Catch a Predator.” Moreover, CAUDLE informed CW that he lived
outside of New Jersey, which made scheduling an in-person meeting difficult.
CAUDLE finally, however, made plans with CW to meet on May 27, 2023.

8, On or about May 26, 2023, CAUDLE drove from his home in
Louisiana towards New Jersey.

 

 
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9, At approximately 6:15 P.M. on May 27, 2023, CAUDLE checked in
at the Clarion Hotel in Toms River, New Jersey.

10. Later that evening, CAUDLE and CW exchanged Snapchat
messages to arrange an in-person meeting. Shortly thereafter, CAUDLE and
CW met at the Ocean County Mall in Toms River, New Jersey.

ll. After spending time together at the mall, CAUDLE drove CW in his
black Cadillac SUV to a nearby restaurant for dinner. CAUDLE told CW that
his vehicle was covered in bugs from the long drive to New Jersey.

12. At approximately 10:30 P.M., CAUDLE arrived at the Clarion Hotel
with CW. Before arriving at the hotel, CAUDLE made clear to CW his intention
of having sexual intercourse with her that evening.

13. While in the hotel room, CAUDLE performed cunnilingus on and
digitally penetrated CW’s vagina while she lay on a bed.

14. As CAUDLE performed these sexual acts, CW noticed that her
sister was calling her. CW answered her phone, got off the bed, and went to
the bathroom, which ended the sexual acts.

15, CW’s sister asked CW for her current location and activities, CW
told her sister that she was at the hotel with a man named Spencer whom she
met online, CW’s sister instructed CW to leave the hotel room and stay on the
phone with her. In response, CW left the hotel room, went to the hotel lobby,
and waited at the hotel for family to arrive.

16. In turn, CAUDLE left the hotel room with his belongings and
departed in his black Cadillac SUV.

17. At approximately 10:46 P.M., local law enforcement was alerted to
CW’s potential location at the Clarion Hotel with an adult male, possibly named
Spencer. Shortly thereafter, the officers arrived at the hotel. Upon arrival,
the officers spoke with hotel staff and learned that “Spencer Caudle” had
checked in room 252. While the officers were enroute to the room, they made
contact with CW, who was on the phone with her sister.

18. CW informed the officers that CAUDLE had already left the hotel
and the officers were unable to locate him in the area. At approximately 11:19
P.M., CW’s mother arrived at the hotel. That evening, CW was interviewed by
law enforcement and again on June 2, 2023.

 
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19. Per CW’s and her mother’s consent, a law enforcement officer,
acting in an undercover capacity (“UC-1”), assumed CW’s online and cellular
presence to communicate with CAUDLE,

20, During June 2023, UC-1, portraying CW, was successful in
establishing and facilitating communication with CAUDLE.

21, While CAUDLE and UC-1 exchanged messages via Snapchat,
CAUDLE expressed that he was “paranoid” when he left the Clarion Hotel and
inquired as to whether CW’s mother spoke to anyone about the incident. He
admitted that it took him approximately 18 hours to drive home from New
Jersey.

22, CAUDLE told UC-1 that if he thought his time with her (i.c., CW)
was going to be short, he would have gone “straight for the goal.” He also
confirmed his sexual acts of performing cunnilingus on and digitally
penetrating CW’s vagina on May 27, 2023, He elaborated on the additional
sexual acts that CW did not get to experience while they were together,
including the use of stimulating devices. He even made clear his intentions to
come back to New Jersey to meet with CW again to have sexual intercourse.

23. CAUDLE and UC-1 eventually made plans for CAUDLE to fly from
New Orleans, Louisiana to the Newark Liberty International Airport in New
Jersey on June 16, 2023 for the purposes of CAUDLE meeting with whom he
believed was CW to have sexual intercourse.

24, During his conversations with UC-1 leading up to his arrival,
CAUDLE advised that he would be bringing a multitude of sexually stimulating
devices to try with CW. CAUDLE even mentioned wanting to take CW to a sex
shop so she could select a sexually stimulating device for herself,

25. CAUDLE advised UC~1 that he would bring to New J ersey his
laptop which had capabilities to manipulate the location-related data
associated with CW’s cell phone to evade suspicion from her parents. He went
on to explain that he would rent a car with local license plates, so that he did
not look suspicious, and planned to pick CW up near her house. Moreover,
CAUDLE provided UC-1 a New Jersey telephone number that he had attached
to a Google Voice account and offered to text CW’s parents as one of her
friend’s parents to ensure that they would not be caught.

26, On June 15, 2023, CAUDLE was charged with the following in
Toms River, New Jersey Municipal Court in Ocean County related to the above
forementioned conduct and investigation:

a. WITHIN THE JURISDICTION OF THIS COURT, CAUSED OR
PERMITTED “CW”, [|CW’s date of birth reflecting her status as

 
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being 14-years-old], TO BE PORTRAYED IN A SEXUALLY
SUGGESTIVE MANNER, KNOWING, HAVING REASON TO
KNOW, OR INTENDING THAT THE PORTRAYAL MAY BE
FILMED, SPECIFICALLY BY REQUESTING “CW” TO
ELECTRONICALLY SEND VIDEOS PORTRAYING “CW” IN A
SEXUALLY SUGGESTIVE MANNER, IN VIOLATION OF NwJ.S.
2C:24-4B(3) (A FIRST DEGREE CRIME).

b. WITHIN THE JURISDICTION OF THIS COURT, COMMIT
SEXUAL ASSAULT BY COMMITTING AN ACT OF SEXUAL
PENETRATION UPON “CW”, [CW’s date of birth reflecting her
status as being 14-years-old], WHEN “CW” WAS AT LEAST 13
BUT LESS THAN 16 YEARS OLD WHILE THE DEFENDANT
WAS 20 YEARS OLDER THAN “CW”, SPECIFICALLY BY THE
DEFENDANT PERFORMINIG CUNNILINGUS ON “CW”, AND
DIGITALLY PENETRATING HER VAGINA, IN VIOLATION OF
N.J.S, 2C:14-2C(4) (A SECOND DEGREE CRIME),

c. WITHIN THE JURISDICTION OF THIS COURT, ATTEMPT TO
LURE OR ENTICE “CW”, [CW’s date of birth reflecting her
status as being 14 years oldj, VIA ELECTRONIC MEANS, WHEN
"CW" WAS LESS THAN EIGHTEEN YEARS OLD, TO MEET AT
THE OCEAN COUNTY MALL WITH A PURPOSE TO COMMIT
2C:14-2C(4) AGAINST THE VICTIM, SPECIFICALLY BY THE
DEFENDANT TRANSPORTING “CW” TO THE CLARION HOTEL
IN VIOLATION OF N.J.S. 2C:13-6A (A SECOND DEGREE
CRIME),

d. WITHIN THE JURISDICTION OF THIS COURT, ENDAGERED
THE WELFARE OF A CHILD BY HAVING ENGAGED IN SEXUAL
CONDUCT WITH CW [CW’s date of birth reflecting her status as
being 14-years-old], WHICH WOULD IMPAIR OR DEBAUCH
THE MORALS OF “CW”, SPECIFICALLY BY THE DEFENDANT
PERFORMING CUNNILINGUS UPON “CW” AND DIGITALLY
PENETRATING HER VAGINA, IN VIOLATION OF N.J.S. 2C:24-
4A(1) (A THIRD DEGREE CRIME).

e. WITHIN THE JURISDICTION OF THIS COURT, ATTEMPTED TO
COMMIT THE CRIME OF SEXUAL ASSAULT BY PURPOSBLY
ENGAGING IN SEXUAL COMMUNICATION WITH WHO HE
BELIEVED TO BE CW, MAKING ARRANGEMENTS TO PICK UP
CW NEAR HER HOUSE, AND COORDINATING FLIGHT AND
HOTEL ACCOMODATIONS IN ORDER TO ENGAGE IN SEXUAL
CONDUCT, SPECIFICALLY VAGINAL INTERCOURSE WITH Cw,
AN INDIVIDUAL HE KNOWS IS LESS THAN 16 YEARS OF AGE
AND HE IS AT LEAST FOUR YEARS OR OLDER, BY

 
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PURPOSELY ENGAGING IN CONDUCT WHICH WOULD
CONSTITUTE THE CRIME IF THE ATTENDANT
CIRCUMSTANCES WERE AS A REASONABLE PERSON WOULD
BELIEVE THEM TO BE , IN VIOLATION OF NwJ.S. 2C:5-1A(1)
AND N.J.S. 2C:14-2(C)(4) (A SECOND DEGREE CRIME).

27. OnJune 16, 2023, CAUDLE did, in fact, arrive at the Newark
Liberty International Airport from a flight originating in New Orleans,
Louisiana, While CAUDLE was in the airport, he was arrested by law
enforcement,

28, While in the airport, law enforcement conducted a lawful search of
the luggage in CAUDLE’s possession. Law enforcement located, among other
items within CAUDLE’s possession, a cellular phone, two laptop computers, a
USB flash drive for data storage (commonly referred to as a “thumb drive”),
several intimate massagers, a tube of arousal gel labeled as intended for
females, and a box of condoms,

29, While conducting a lawful search of one of the laptops, law
enforcement identified at least ten images and five videos of child pornography
involving prepubescent children.

 

 

 
